                                   Case 23-14893-SMG                  Doc 1        Filed 06/22/23           Page 1 of 7


Fill in this information to identify your case:


United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Golden Developing Business Solutions Inc

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  3000 N Federal HIghway, Suite 200
                                  Fort Lauderdale, FL 33306
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Broward                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.goldendeveloping.com


6.   Type of debtor                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                       Partnership (excluding LLP)
                                       Other. Specify:




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                       Case 23-14893-SMG                  Doc 1         Filed 06/22/23              Page 2 of 7
Debtor    Golden Developing Business Solutions Inc                                                     Case number (if known)
          Name


7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5511

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the                Chapter 7
     debtor filing?
                                           Chapter 9
     A debtor who is a “small
                                           Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     a “small business debtor”)                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     must check the second                                       debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
     sub-box.                                                    proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known

 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                                    Case 23-14893-SMG                    Doc 1        Filed 06/22/23             Page 3 of 7
Debtor   Golden Developing Business Solutions Inc                                                   Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?                        Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                          preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                          A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or           No
    have possession of any           Yes.
    real property or personal                 Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                      Why does the property need immediate attention? (Check all that apply.)
                                                 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                What is the hazard?
                                                 It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                 Other
                                              Where is the property?
                                                                               Number, Street, City, State & ZIP Code
                                              Is the property insured?
                                                 No
                                                 Yes.    Insurance agency
                                                         Contact name
                                                         Phone



         Statistical and administrative information

13. Debtor's estimation of      .          Check one:
    available funds
                                              Funds will be available for distribution to unsecured creditors.
                                              After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of              1-49                                             1,000-5,000                                 25,001-50,000
    creditors                        50-99                                            5001-10,000                                 50,001-100,000
                                     100-199                                          10,001-25,000                               More than100,000
                                     200-999

15. Estimated Assets                 $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                     $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities            $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                      $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                  Case 23-14893-SMG                    Doc 1         Filed 06/22/23             Page 4 of 7
Debtor   Golden Developing Business Solutions Inc                                                  Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on        June 22, 2023
                                                  MM / DD / YYYY


                             X   /s/     Stavros Triant                                                    Stavros Triant
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    Chief Executive Officer




18. Signature of attorney    X   /s/ David L. Merrill                                                      Date    June 22, 2023
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 David L. Merrill 99155
                                 Printed name

                                 The Associates
                                 Firm name

                                 Harbour Financial Center
                                 2401 PGA Boulevard, Suite 280M
                                 Suite B
                                 Palm Beach Gardens, FL 33410
                                 Number, Street, City, State & ZIP Code


                                 Contact phone      (561) 877-1111               Email address      dlm@theassociates.com

                                 99155 FL
                                 Bar number and State




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 4
                                      Case 23-14893-SMG                    Doc 1    Filed 06/22/23        Page 5 of 7
Official Form 201A (12/15)
[If debtor is required to file periodic reports (e.g. forms 10K and 10Q) with the Securities and Exchange Commission pursuant to
Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of the Bankruptcy Code, this Exhibit
"A" shall be completed and attached to the petition.]

                                                                United States Bankruptcy Court
                                                                     Southern District of Florida
 In re       Golden Developing Business Solutions Inc                                                     Case No.
                                                                                 Debtor(s)                Chapter     11


                                     Attachment to Voluntary Petition for Non-Individuals Filing for
                                                    Bankruptcy under Chapter 11
1. If any of the debtor's securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file number
   is ST131-CL .

2. The following financial data is the latest available information and refers to the debtor's condition on            March 31, 2023       .

 a. Total assets                                                                                      $                    7,798,584.00

 b. Total debts (including debts listed in 2.c., below)                                               $                    7,631,425.00

 c. Debt securities held by more than 500 holders:                                                                             Approximate
                                                                                                                                number of
                                                                                                                                 holders:

 secured                  unsecured                    subordinated                  $                       0.00                                     0
 secured                  unsecured                    subordinated                  $                       0.00                                     0
 secured                  unsecured                    subordinated                  $                       0.00                                     0
 secured                  unsecured                    subordinated                  $                       0.00                                     0
 secured                  unsecured                    subordinated                  $                       0.00                                     0

 d. Number of shares of preferred stock                                                                   320,001                                     1

 e. Number of shares common stock                                                                   1,413,810,663                               1,500
    Comments, if any:
    Please see 10-Q dated March 31, 2023 which is filed contemporaneously with this petition.

3. Brief description of Debtor's business:
   The Debtor is a health and wellness focused holding company that owns several businesses, all of which are centered in the
   pharmacy business sector.

4. List the name of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the voting securities
   of debtor:
   Stavros Triant




Official Form 201A               Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
                                          Case 23-14893-SMG                      Doc 1         Filed 06/22/23                Page 6 of 7


 Fill in this information to identify the case:
 Debtor name Golden Developing Business Solutions Inc
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF                                                                                         Check if this is an
                                                FLORIDA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 ADP                                                            Trade debt              Contingent                                                                        $36,000.00
 P.O. Box 842875                                                                        Unliquidated
 Boston, MA 02284                                                                       Disputed
 Quick Capital, LLC                                             Business Loan                                                                                             $91,336.28
 1603 Capitol                                                   (Unsecured)
 Avenue, Suite 310
 Cheyenne, WY
 82001
 TVT 2.0 LLC                                                    90 days or less:        Contingent                                                                    $6,200,000.00
 c/o Darren Neilson,                                            Intercompany            Unliquidated
 Esquire                                                        receivables             Disputed
 201 South Main
 Street, Suite 1800
 Salt Lake City, UT
 84111
 TVT Business                                                   Trade debt              Contingent                                                                                $0.00
 Finding, LLC                                                                           Unliquidated
 c/o Darren Neilson,                                                                    Disputed
 Esquire
 201 South Main
 Street, Suite 1800
 Salt Lake City, UT
 84111




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
Case 23-14893-SMG   Doc 1   Filed 06/22/23   Page 7 of 7



            ADP
            P.O. Box 842875
            Boston, MA 02284


            Matthew Hutera Consulting, LLC
            903 87th Avenue
            Hudson, WI 54016


            Orchid Trails, LLC
            23133 Orchid Lake Road, Suite 101
            Farmington, MI 48336


            Quick Capital, LLC
            1603 Capitol Avenue, Suite 310
            Cheyenne, WY 82001


            Sunny Days Consulting, LLC
            P.O. Box 460573
            Fort Lauderdale, FL 33346


            TVT 2.0 LLC
            c/o Darren Neilson, Esquire
            201 South Main Street, Suite 1800
            Salt Lake City, UT 84111


            TVT Business Finding, LLC
            c/o Darren Neilson, Esquire
            201 South Main Street, Suite 1800
            Salt Lake City, UT 84111
